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                                                                                       IN nPFN COURT


                    IN THE UNITED STATES DISTRICT COURT FOR rnti                     FEB 2 0 aoffl
                             EASTERN DISTRICT OF VIRGINIA                      "CLERK. U.S. DISTRICT COURT
                                                                                     ALEXANDRIA. VIRGlNlft

                                       Alexandria Division


UNITED STATES OF AMERICA


               V.                                    Criminal No. l:19-cr-304
                                                     (Hon. Leonie M. Brinkema)
HENRY KYLE FRESE,

               Defendant.


                                      PLEA AGREEMENT


       G. Zachary Terwilliger, United States Attorney for the Eastern District of Virginia;

W.Neil Hammerstrom, Jr. and Danya E. Atiyeh, Assistant United States Attorneys; Jennifer

Kennedy Gellie, Department of Justice Trial Attorney; the defendant, Henry Kyle Frese; and the

defendant's counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of

Criminal Procedure. The terms of the agreement are as follows:

       1.      Offense and Maximum Penalties

       The defendant agrees to plead guilty to Count One of the indictment charging the

defendant with the willful transmission of TOP SECRET national defense information, in

violation of Title 18, United States Code, Section 793(d). The maximum penalties for this

offense are a maximum term of ten years of imprisonment, a fine of$250,000, a special

assessment pursuant to 18 U.S.C. § 3013, and a supervised release term of a maximum of three

years. The defendant understands that this supervised release term is in addition to any prison

term the defendant may receive, and that a violation of a term of supervised release could result

in the defendant being returned to prison for the full term of supervised release.
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       2.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offense. The defendant admits the facts set forth in the statement offacts filed with this plea

agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The statement offacts, which is hereby incorporated into this plea agreement, constitutes

a stipulation offacts for purposes of Section IB1.2(c) ofthe Sentencing Guidelines.

       3.      Assistance and Advice of Counsel

       The defendant is satisfied that the defendant's attorneys have rendered effective

assistance. The defendant understands that by entering into this agreement, defendant surrenders

certain rights as provided in this agreement. The defendant imderstands that the rights of

criminal defendants include the following:

               a.     the right to plead not guilty and to persist in that plea;

               b.     the right to ajury trial;

               c.      the right to be represented by counsel- and if necessary have the court

                       appoint counsel- at trial and at every other stage ofthe proceedings; and

               d.      the right at trial to confront and cross-examine adverse witnesses, to be

                       protected from compelled self-incrimination, to testify and present

                       evidence, and to compel the attendance of witnesses.

       4.      Role of the Court and the Probation Office

       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing
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range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's counsel,the United States, or the Probation Office, is a

prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker, 543

U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       a.      Further, in accordance with Rule 11(c)(1)(B) ofthe Federal Rules of Criminal

Procedure, the United States and the defendant will recommend to the Court that the following

provisions ofthe Sentencing Guidelines apply:

               USSG 6 2M3.2: Base Offense Level 35 for the willful transmission of intangible
               TOP SECRET information with reason to believe that it could be used to the injury
               ofthe United States or the advantage of a foreign nation;

               USSG § 3B1.3: Two-level increase for Abuse of Position of Trust.

       b.      The United States and the defendant agree that the defendant has assisted the

government in the investigation and prosecution of the defendant's own misconduct by timely

notifying authorities ofthe defendant's intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the Court to allocate

their resources efficiently. Ifthe defendant qualifies for a two-level decrease in offense level

pursuant to U.S.S.G. § 3El.l(a) and the offense level prior to the operation ofthat section is a

level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3El.l(b), a motion prior
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to, or at the time of, sentencing for an additional one-level decrease in the defendant's offense

level.


         c.     The United States and the defendant have not agreed on any further sentencing

issues, whether related to the Sentencing Guidelines or otherwise, other than those listed above

or elsewhere in this plea agreement. Any stipulation on a Guideline provision does not limit the

parties' arguments as to 18 U.S.C. § 3553(a).

         5.     Waiver of Appeal,FOIA and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless,the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above(or the manner in

which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this plea agreement.

This agreement does not affect the rights or obligations ofthe United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution ofthis case, including without limitation

any records that may be sought under the Freedom ofInformation Act,5 U.S.C. § 552, or the

Privacy Act, 5 U.S.C. § 552a.

         6.     Special Assessment

         Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of$100 per count of conviction.
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       7.      Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

monetary penalties are imposed by the Court will be due immediately and subject to immediate

enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days

ofa request, the defendant agrees to provide all ofthe defendant's financial information to the

United States and the Probation Office and, if requested, to participate in a pre-sentencing

debtor's examination and/or complete a financial statement under penalty of peijury. Ifthe

Court imposes a schedule of payments,the defendant understands that the schedule of payments

is merely a minimum schedule of payments and not the only method, nor a limitation on the

methods, available to the United States to enforce the judgment. Ifthe defendant is incarcerated,

the defendant agrees to voluntarily participate in the Bureau ofPrisons' Inmate Financial

Responsibility Program,regardless of whether the Court specifically directs participation or

imposes a schedule of payments.

       8.      Immunity from Further Prosecution in this District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the indictment or statement offacts.

This plea agreement and statement offacts does not confer on the defendant any immunity from

prosecution by any state government in the United States.

       9.      Dismissal of Other Counts


       Upon execution ofthis agreement emd the Court's acceptance ofthe defendant's plea of

guilty, the United States will move to dismiss the remaining counts ofthe indictment against this

defendant.
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       10.    Defendant's Cooperation

       The defendant agrees to cooperate fully and truthfully with the United States, and provide

all information known to the defendant regarding any criminal activity as requested by the

government. In that regard:

              a.      The defendant agrees to testify truthfully and completely at any grand

                      juries, trials or other proceedings.

               b.     The defendant agrees to be reasonably available for debriefing and pre-

                      trial conferences as the United States may require.

               c.     The defendant agrees to provide all documents,records, writings, or

                      materials of any kind in the defendant's possession or under the

                      defendant's care, custody, or control relating directly or indirectly to all

                      areas ofinquiry and investigation.

               d.     The defendant agrees that, at the request ofthe United States, the

                      defendant will voluntarily submit to polygraph examinations, and that the

                      United States will choose the polygraph examiner and specify the

                      procedures for the examinations.

               e.     The defendant agrees that the Statement ofFacts is limited to information

                      to support the plea. The defendant will provide more detailed facts

                      relating to this case during ensuing debriefings.

               f.     The defendant is hereby on notice that the defendant may not violate any

                      federal, state, or local criminal law while cooperating with the

                      government, and that the government will, in its discretion, consider any
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                      such violation in evaluating whether to file a motion for a downward

                      departure or reduction of sentence,

               g.     Nothing in this agreement places any obligation on the government to seek

                      the defendant's cooperation or assistance.

       11.     Use ofInformation Provided by the Defendant Under This Agreement

       The United States will not use any truthful information provided pursuant to this

agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,

except in any prosecution for a crime of violence or conspiracy to commit,or aiding and

abetting, a crime of violence(as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no

truthful information that the defendant provides under this agreement will be used in determining

the applicable guideline range, except as provided in Section IB1.8(b). Nothing in this plea

agreement, however,restricts the Court's or Probation Officer's access to information and

records in the possession ofthe United States. Furthermore, nothing in this agreement prevents

the government in any way from prosecuting the defendant should the defendant knowingly

provide false, untruthful, or perjurious information or testimony, or from using information

provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

administrative or judicial. The United States will bring this plea agreement and the full extent of

the defendant's cooperation to the attention of other prosecuting offices if requested.

       12.     Defendant Must Provide Full, Complete and Truthful Cooperation

       This plea agreement is not conditioned upon charges being brought against any other

individual. This plea agreement is not conditioned upon any outcome in any pending

investigation. This plea agreement is not conditioned upon any result in any future prosecution

which may occur because ofthe defendant's cooperation. This plea agreement is not
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conditioned upon any result in any future grand jury presentation or trial involving charges

resulting from this investigation. This plea agreement is conditioned upon the defendant

providing full, complete and truthftal cooperation.

       13.     Motion for a Downward Departure

       The parties agree that the United States reserves the right to seek any departure from the

applicable sentencing guidelines, pursuant to Section 5K1.1 ofthe Sentencing Guidelines and

Policy Statements, or any reduction ofsentence pursuant to Rule 35(b)ofthe Federal Rules of

Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

or reduction ofsentence is appropriate. In addition, the defendant understands that the Court—

not the United States—^will decide what, if any, reduction in sentence is appropriate.

       14.     Non-Disclosure Agreements

       a.      The defendant acknowledges that, in connection with his employment by the

Defense Intelligence Agency(DIA), he entered into certain agreements proscribing the

unauthorized disclosure of classified information, confidential information, and other

information acquired as a part ofthe defendant's performance of his official duties. The

defendant acknowledges his continuing duties and obligations under this agreement, and they are

hereby incorporated by reference.

       b.      The defendant understands his continuing legal obligation to refrain from the

unauthorized oral or written disclosure ofinformation belonging to the United States government

or acquired by virtue of his United States government employment or derived from the activities

that resulted in his conviction. Should the defendant at any time author or participate in the

creation of any book, writing, article, film, documentary, or other production, or otherwise

provide information for purposes of publication or dissemination, including but not limited to
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information provided through interviews with writers or representatives of any media

organization or entity, the defendant hereby agrees first to submit in a timely fashion such book,

writing, article, film, documentary, or other production, or information, to DIA for timely pre-

publication review and deletion ofinformation which, in the discretion of the DIA,should not be

published or disseminated on the grounds of national security or on any other grounds as are

already the subject ofthe defendant's pre-existing agreements with the DIA.

       c.      The defendant agrees that he will notify DIA in a timely manner of any contacts

he intends to have with any representative ofthe media in order to ensure that a representative of

the DIA and/or other intelligence community representative is present, unless such presence is

explicitly waived by the DIA,to monitor the information being disseminated and,if necessary, to

prevent the unauthorized disclosure ofinformation. Such contacts include, but are not limited to,

contacts in person, contacts by electronic means, and contacts via public or private mail carrier.

       l>t.^Assignment of Any Profits or Proceeds from Publicity
       The defendant hereby assigns to the United States any profits or proceeds which he may

be entitled to receive in connection with any publication or dissemination ofinformation relating

to his work at DIA,his unlawful activities, the facts and circumstances leading to his

apprehension and conviction, or acquired from DIA files, and agrees that any such profits and/or

proceeds constitute the proceeds of his unlawful activity for purposes of 18 U.S.C. §

794(d)(1)(A). This assignment shall include all profits and proceeds for the benefit ofthe

defendant, regardless of whether such profits and proceeds are payable to himself or to others,

directly or indirectly, for his benefit or for the benefit ofthe defendant's associates or a current or

future member ofthe defendant's family. The defendant shall not circumvent this assignment by

assigning the rights to his story to an associate or to a current or future member ofthe
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defendant's family, or to another person or entity who would provide some financial benefit to

the defendant,to the defendant's associates, or to a current or future member ofthe defendant's

family. Moreover,the defendant shall not circumvent this assignment by communicating with

an associate or a family member for the purpose of assisting or facilitating their profiting from a

public dissemination, whether such an associate or other family member is personally or directly

involved in such dissemination.


       15.1(fi   Conditions of Incarceration

       The defendant is aware ofthe provisions of28 C.F.R. § 501.2 governing

conditions of incarceration in national security cases and acknowledges that the United

States reserves the right to exercise these provisions.

       XS' n Breach of the Plea Agreement and Remedies

       This agreement is effective when signed by the defendant,the defendant's attorneys, and

an attorney for the United States. The defendant agrees to entry ofthis plea agreement at the

date and time scheduled with the Court by the United States(in consultation with the defendant's

attorneys). Ifthe defendant withdraws from this agreement, or commits or attempts to commit

any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

misleading testimony or information, or otherwise violates any provision ofthis agreement,then:

            a.      The United States will be released from its obligations under this agreement.

                    The defendant, however, may not withdraw the guilty plea entered pursuant to

                    this agreement;

            b.      The defendant will be subject to prosecution for any federal criminal

                    violation, including, but not limited to, perjury and obstruction ofjustice, that

                    is not time-barred by the applicable statute oflimitations on the date this



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                      agreement is signed. Notwithstanding the subsequent expiration ofthe statute

                      oflimitations, in any such prosecution, the defendant agrees to waive any

                      statute-of-limitations defense; and

              c.      Any prosecution, including the prosecution that is the subject ofthis

                      agreement, may be premised upon any information provided, or statements

                      made, by the defendant, and all such information, statements, and leads

                      derived therefrom may be used against the defendant. The defendant waives

                      any right to claim that statements made before or after the date ofthis

                      agreement, including the statement offacts accompanying this agreement or

                      adopted by the defendant and any other statements made pursuant to this or

                      any other agreement with the United States, should be excluded or suppressed

                      under Fed. R.Evid. 410,Fed. R. Crim. P. 11(f), the Sentencing Guidelines or

                      any other provision ofthe Constitution or federal law.

       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach ofthe plea

agreement by a preponderance of the evidence.

      J.-6,        Nature of the Agreement and Modifications
       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attorneys

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this plea agreement, to cause the defendant to




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plead guilty. Any modification of this plea agreement shall be valid only as set forth in writing

in a supplemental or revised plea agreement signed by all parties.

                                             G.Zachary Terwilliger
                                             United States Attomey




                                      By:    -r.M
                                             W.Neil Hammerstrom, Jr.
                                             Danya E. Atiyeh
                                             Assistant United States Attorneys




                                             Jiihiifer Kennedy Gellie
                                             Trial Aitomey
                                             National Security Division
                                             United States Department of Justice




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         Defendant's Signature: I hereby agree that I have consulted with my attorneys and fully
understand all rights with respect to the pending criminal indictment. Further, I fully understand
all rights with respect to Title 18, United States Code, Section 3553 and the provisions of the
Sentencing Guidelines Manual that may apply in my case. I have read this plea agreement and
carefully reviewed every part ofit with my attorneys. I understand this agreement and
voluntai'ily agree to it.


Date:            j20
                                             Henry Kyle Frese
                                             Defendant



        Defense Counsel Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending indictment.
Further, I have reviewed Title 18, United States Code, Section 3553 and the Sentencing
Guidelines Manual, and I have fully explained to the defendant the provisions that may apply in
this case. I have carefully reviewed every part of this plea agreement with the defendant. To my
knowledge, the defendant's decision to enter into this agreement is an informed and voluntary
one.




Date:          7^
                                             Danny C. Onorato
                                             Counsel for the Defendant




Date:        X
                                             Sti^ A. Sears
                                                mnsel for Defendant




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